         Entered on Docket August 3, 2015
                                                     Below is the Order of the Court.


 1                                                   _______________________________
                                                     Marc Barreca
 2                                                   U.S. Bankruptcy Judge
 3                                                   (Dated as of Entered on Docket date above)

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     ________________________________________________________________
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                             UNITED STATES BANKRUPTCY COURT
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                 FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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12
     In Re:                                          Case No. 12-14364-MLB
13
     FREDERICK W. KREIDLER and ANNE
14   MARIE KREIDLER
                                                     ORDER TO DENYING MOTION TO
15                                                   ESTIMATE VALUE OF ADMINISTRATIVE
                 Debtors.                            CLAIM OF LAW OFFICES OF JOHN A.
16
                                                     LONG AND/OR STANDING TO ASSERT
17                                                   ADMINISTRATIVE CLAIM FOR JOHN
                                                     LONG LAW, PLLC [ECF Docket No. 736]
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21          It is ORDERED as follows:
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23          1. The Debtors’ to Motion to Estimate Value of Administrative Claim of Law Offices of
24   John A. Long and/or Standing to Assert Administrative Claim for John Long Law, PLLC [ECF
25   Docket No. 736] is hereby denied.
26          2. The Court’s Findings of Fact and Conclusions of Law were stated on the record at the
27   hearing on July 29, 2015 are incorporated herein by reference.
28          3.   Any issues concerning the Standing of any party to assert and/or control the
29   Administrative Claim embodied in the Fee Application filed at ECF Docket No. 101 by John
30

     ORDER DENYING MOTION TO ESTIMATE                                   Lawrence K. Engel
     ADMINISTRATIVE CLAIM ETC. [ECF Docket No.                           Attorney at Law
     736]- 1
                                                                      40 Lake Bellevue #100
                                                                       Bellevue, WA 98005
                                                                         (425) 454-5500
      Case 12-14364-MLB        Doc 753     Filed 08/03/15      Ent. 08/03/15 14:44:26             Pg. 1 of 2
 1   Long Law, PLLC shall be determined before the Hon. Timothy W. Dore in Case No. 13-14134-

 2   TWD.

 3
 4                                      /// End of Order ///

 5
 6
 7   Prepared and Presented by:
 8
 9   ___/s/ Lawrence K. Engel______________________
     Lawrence K. Engel, WSBA #8421
10   Counsel for Frederick W. Kreidler and Anne Marie
11   Kreidler, Debtors
12   Approved for Entry; Notice of Presentation Waived:
13
     LAW OFFICES OF JOHN A. LONG
14
15   _/Brett C. Masch [per e-mail approval 8-3-15]______
     By: Brett C. Masch, WSBA #43851
16   Attorney for Claimant
17
     _/s/ Michael B. McCarty [per e-mail approval 8-3-15]__
18   Michael B. McCarty, Chapter 7 Trustee
19   Case No. 13-14134-TWD, WSBA #13162
20
     KARR TUTTLE CAMPBELL
21
     __/s/ Michael B. Feinberg_[per e-mail approval 8-3-15]___
22
     By: Michael B. Feinberg, WSBA #11811
23   Counsel for Andrew Wilson, Trustee
24
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27
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     ORDER DENYING MOTION TO ESTIMATE                                Lawrence K. Engel
     ADMINISTRATIVE CLAIM ETC. [ECF Docket No.                        Attorney at Law
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